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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         Filed: February 18, 2022

*************************
ANDREA MILLER,                             *       No. 19-128V
                                           *
                      Petitioner,          *       Special Master Sanders
v.                                         *
                                           *       Stipulation for Award; Tetanus-
SECRETARY OF HEALTH                        *       Diphtheria-Acellular-Pertussis (“Tdap”)
AND HUMAN SERVICES,                        *       Vaccine; Guillain-Barré Syndrome
                                           *       (“GBS”)
                      Respondent.          *
*************************
John R. Howie, Jr., Howie Law, PC, Dallas, TX, for Petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION 1

       On January 24, 2019, Andrea Miller (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-10 to -34
(2012); Pet. at 1, ECF No. 1. Petitioner alleged that the Tetanus-diphtheria-acellular-pertussis
(“Tdap”) vaccine she received on January 24, 2016, caused her to suffer from Guillain-Barré
syndrome (“GBS”). Id.; see also Stip. at 1, ECF No. 40. Petitioner further alleged that she
experienced the residual effects of her injury for more than six months. Pet. at 2.

        On February 15, 2022, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Stip. at 2. Respondent “denies that the
Tdap immunization is the cause of [P]etitioner’s alleged GBS and/or any other injury.” Id. at 1.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. I find the
stipulation reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:



1
  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with access to
the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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                a. A lump sum payment of $6,972.03, 3 representing compensation for
                   satisfaction of a State of Florida Medicaid lien, in the form of a
                   check payable jointly to [P]etitioner and

                                               Equian
                                           P.O. Box 182643
                                         Columbus, OH 43218.

                    Petitioner agrees to endorse this payment to Equian; and

                b. A lump sum of $50,000.00 in the form of a check payable to
                   [P]etitioner. This amount represents all remaining compensation
                   for all damages that would be available under 42 U.S.C. § 300aa-
                   15(a) for injuries allegedly related to [P]etitioner’s receipt of the
                   Tdap vaccine.

Id. at 2.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 4

        IT IS SO ORDERED.

                                                          s/Herbrina D. Sanders
                                                          Herbrina D. Sanders
                                                          Special Master




3
  This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or cause of
action the State of Florida may have against any individual as a result of any Medicaid payments made by,
or on behalf of, the State of Florida to, or on behalf of, Andrea Miller as a result of her alleged vaccine-
related injury suffered as a result of her January 24, 2016 Tdap vaccination, under Title XIX of the Social
Security Act, see 42 U.S.C. §§ 300aa-15(g), (h).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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